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 9   Attorneys for Plaintiff LDR INTERNATIONAL LIMITED, a British Virgin Island
     corporation
10
                              UNITED STATES DISTRICT COURT
11
               CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
12
13   LDR INTERNATIONAL LIMITED, a            )   Case No. 8:23−cv−00257−DOC (JDEx)
     British Virgin Island corporation;      )
14                                           )   PLAINTIFF’S NOTICE OF MOTION
                 Plaintiff,                  )   AND MOTION FOR SUMMARY
15                                           )   JUDGMENT AGAINST
          v.                                 )   DEFENDANTS SARA JACQUELINE
16                                           )   KING AND KING FAMILY LENDING
     SARA JACQUELINE KING, an                )   LLC
17   individual, and KING FAMILY             )
     LENDING LLC, a California limited       )                 (Fed. R. Civ. P. 56)
18   liability company;                      )
                                             )   (Filed concurrently with: 1) Memorandum
19               Defendants.                 )   of Points and Authorities; 2) Appendix of
                                             )   Evidence and Declarations; 3) Statement
20                                           )   of Uncontroverted Facts and Conclusions
                                             )   of Law; and 4) Notice of Lodging
21                                           )   Proposed Judgment)
                                             )
22                                           )
                                             )   Date:                October 16, 2023
23                                           )   Time:                8:30 a.m.
                                             )   Courtroom:           10A
24                                           )   Judge:               Judge David O. Carter
                                             )
25                                           )   Trial Date:          January 30, 2024
                                             )
26                                           )
                                             )
27                                           )

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                 Plaintiffs’ Notice of Motion and Motion for Summary Judgment
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 1         TO DEFENDANTS SARA JACQUELINE KING AND KING FAMILY
 2   LENDING LLC:
 3         PLEASE TAKE NOTICE that on October 16, 2023, at 8:30 a.m., in Courtroom
 4   10A of the United States District Court, Central District of California, Southern
 5   Division, Hon. David O. Carter presiding, located at 411 West 4th Street, Santa Ana,
 6   California 92701-4516, Plaintiff LDR International Limited (“Plaintiff” or “LDR”) will
 7   and hereby does move this Court for summary judgment, pursuant to Federal Rule of
 8   Civil Procedure 56, on its Complaint against Defendants Sara Jacqueline King (“Sara
 9   King”) and King Family Lending LLC (“King Lending,” collectively “Defendants”) and
10   entry of judgment on same.
11         Pursuant to Local Rule 7-3, on August 30, 2023, Plaintiff’s counsel Ronald
12   Richards contacted Defendants, who are in pro per although defendant Sara King is an
13   attorney, via email to Sara King requesting a pre-filing conference of counsel.
14   Defendants never responded to the request, similarly as to when Defendants did not
15   respond to Plaintiff’s request for a Rule 26(f) scheduling conference.
16         This Motion will be, and is made, on the grounds that the undisputed material
17   facts and evidence establish that Plaintiff is entitled to summary judgment on its claims
18   against Defendants for breach of written contracts, fraud, civil theft in violation of
19   California Penal Code, section 496, and account stated as a matter of law. There are no
20   disputed facts as to each element Plaintiff is required to establish on each of its claims.
21   This Motion is further made on the ground that the undisputed material facts and
22   evidence establish that Sara King is the alter ego of King Lending.
23         The Motion for Summary Judgment is based on this Notice and Motion, the
24   concurrently filed Memorandum of Points and Authorities, the concurrently filed
25   Statement of Uncontroverted Facts and Conclusions of Law, the concurrently filed
26   Appendix of Evidence, any reply brief which may be filed in support of the motion, the
27   files and records in this action, and any further evidence or argument the Court may
28   properly receive at or before the hearing.

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                 Plaintiffs’ Notice of Motion and Motion for Summary Judgment
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 1   DATED: September 11, 2023           LAW OFFICES OF RONALD RICHARDS &
                                         ASSOCIATES, A.P.C.
 2
 3
                                         By:    / s / Ronald N. Richards
 4                                             Ronald N. Richards
                                         Attorneys for Plaintiff LDR
 5                                       INTERNATIONAL LIMITED
 6
     DATED: September 11, 2023           LAW OFFICES OF GEOFFREY LONG,
 7                                       A.P.C.
 8
 9                                       By:    / s / Geoffrey S. Long
                                               Geoffrey S. Long
10                                       Attorneys for Plaintiff LDR
                                         INTERNATIONAL LIMITED
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               Plaintiffs’ Notice of Motion and Motion for Summary Judgment
